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                        UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

 RHINO AVIATION CJ510 LLC AND  §
 SB 501 LLC,                   §
                               §
 Plaintiffs,                   §                            Civil Action No. 4:24-cv-00615
                               §
 v.                            §
                               §
 WHITMORE HOLDINGS LLC AND     §                                     Jury Demanded
 DUPAGE AEROSPACE CORPORATION, §
                               §
 Defendants.                   §

                                            ORDER

       Considering the foregoing Motion,

       IT IS ORDERED that the Court’s Order of Dismissal (ECF Doc. 20) is VACATED.

       IT IS FURTHER ORDERED that Defendants are granted leave of Court to file their

response to Plaintiffs’ Motion to Dismiss (ECF Doc. 17). The Clerk of Court is hereby directed

to file Defendants’ Brief in Response to the Motion to Dismiss into the record of this case.


       Signed in Houston, Texas this ______ day of ___________, 2024.


                                             ____________________________________
                                             UNITED STATES DISTRICT JUDGE
